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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    FRANCHISE GROUP, INC., et al., 1                        Case No. 24-12480 (JTD)

                               Debtors.                     (Jointly Administered)

                                                            Hearing Date:
                                                            December 10, 2024 at 10:00 a.m. (ET)

                                                            Objection Deadline:
                                                            November 25, 2024 at 4:00 p.m. (ET)

        DEBTORS’ MOTION FOR ENTRY OF ORDERS (I) (A) APPROVING
             BIDDING PROCEDURES FOR THE SALE OF ALL OR
      SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS, (B) SCHEDULING
       AN AUCTION AND A SALE HEARING AND APPROVING THE FORM
  AND MANNER OF NOTICE THEREOF, (C) APPROVING ASSUMPTION AND
  ASSIGNMENT PROCEDURES, AND (D) GRANTING RELATED RELIEF; AND
(II) (A) APPROVING THE SALE OF THE DEBTORS’ ASSETS FREE AND CLEAR
   OF LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES, (B) APPROVING
      THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY CONTRACTS
       AND UNEXPIRED LEASES, AND (C) GRANTING RELATED RELIEF


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     The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
     numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
     Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
     Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
     (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
     Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
     Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
     American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
     Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
     Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
     LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
     and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
     (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
     Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
     Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
     LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
     Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
     “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
     WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
     Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
     (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
     Delaware, Ohio 43015.
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        The debtors and debtors in possession in the above-captioned cases (collectively,

the “Debtors”) hereby file this motion (the “Motion”) for the entry of (I) an order, substantially in

the form attached hereto as Exhibit A (the “Bidding Procedures Order”), (a) approving bidding

procedures, substantially in the form attached to the Bidding Procedures Order as Exhibit 1

(the “Bidding Procedures”), to be used in connection with the sale (the “Sale”) of all or

substantially all of the Debtors’ assets (collectively, the “Assets”), (b) scheduling an auction for

the Assets (the “Auction”), if necessary, and scheduling a hearing to approve the Sale (the “Sale

Hearing”), if necessary, and approving the form and manner of notice of the proposed Bidding

Procedures, the Auction, and the Sale Hearing, substantially in the form attached to the Bidding

Procedures Order as Exhibit 2 (the “Sale Hearing Notice”), (c) authorizing procedures governing

the assumption and assignment of certain executory contracts and unexpired leases

(the “Contracts”) in connection with the Sale (the “Assumption Procedures”), and approving the

form and manner of notice to each relevant non-debtor counterparty to a Contract of (i) the

Debtors’ calculation of the amount necessary to cure any defaults under the applicable Contract

(the “Cure Costs”) and (ii) certain other information regarding the potential assumption and

assignment of Contracts in connection with the Sale, substantially in the form attached to the

Bidding Procedures Order as Exhibit 3 (the “Assumption and Assignment Notice”), and

(d) granting related relief; and (II) if applicable, an order of the Court (the “Sale Order”) 2

(a) authorizing the sale of the Debtors’ Assets free and clear of all liens, claims, interests, and

encumbrances, except as provided in the Sale Order, (b) authorizing the assumption and

assignment of certain Contracts to the Successful Bidder (as defined below) (such Contracts, the

“Assigned Contracts”) in connection with the Sale(s), and (c) granting related relief. In support of


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    A proposed Sale Order will be filed in advance of the applicable Sale Hearing.

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this Motion, the Debtors rely upon and incorporate by reference the Declaration of David Orlofsky

in Support of Debtors’ Chapter 11 Petitions and First Day Pleadings (the “First Day

Declaration”) 3 [Docket No. 15] and the declaration in support of the Motion (the “Declaration”).

In further support of this Motion, the Debtors respectfully represent as follows:

                                     JURISDICTION AND VENUE

        1.       The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b) and, pursuant

to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), the Debtors consent to the

entry of a final order by the Court in connection with this Motion to the extent that it is later

determined that the Court, absent the consent of the parties, cannot enter final orders or judgments

in connection herewith consistent with Article III of the United States Constitution.

        2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.       The statutory and legal predicates for the relief requested herein are sections 363,

365, and 105(a) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy

Code”), Rules 2002, 6004, 6006(a), and 9017 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Local Rules 2002-1, 6004-1, and 9006-1.




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    Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to them in the Bidding
    Procedures or First Day Declaration, as applicable.

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                                        BACKGROUND
I.     General.

       4.      On November 3, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”) in the Court. The

Debtors are authorized to operate their business and manage their properties as debtors and debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       5.      No official committee has been appointed in these Chapter 11 Cases, and no request

has been made for the appointment of a trustee or an examiner.

       6.      Additional information regarding the Debtors’ business, capital structure, and the

circumstances leading to the filing of these Chapter 11 Cases is set forth in the First Day

Declaration.

II.    Events Leading to the Sale.

       7.      As set forth in greater detail in the First Day Declaration and as will be set forth in

the Declaration, the Debtors are a privately held operator and acquirer of franchised and

franchisable businesses in a collection of highly recognized and market-leading retail brands. Over

the past several years, the Debtors’ business segments, like those of many of their peers, have been

negatively impacted by challenges stemming from, among other things, adverse macroeconomic

trends and headwinds in the retail industry. More specifically, the Debtors have experienced

operational declines and consolidated losses across their businesses resulting from

underperforming retail store locations, inflationary pressure, an overleveraged balance sheet, and

rising interest expenses. These challenges have continued in the months prior to the Petition Date,

stymieing the Debtors’ ability to meet their near- and long-term liquidity needs.

       8.      Among other efforts the Debtors made to address these industry headwinds, the

Debtors engaged Willkie Farr & Gallagher LLP (“Willkie”), Young Conaway Stargatt & Taylor,

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LLP (“Young Conaway”), Ducera Partners LLC (“Ducera”), AlixPartners, Inc. (“AlixPartners”),

and Kroll Restructuring Administration LLC (“Kroll” and, collectively with Willkie, Young

Conaway, Ducera, and AlixPartners, the “Restructuring Advisors”) to assist with evaluating

restructuring and strategic alternatives through both a chapter 11 process and on an out-of-court

basis, including by marketing and exploring going concern sales for certain of the Debtors’

business segments and soliciting and negotiating proposals for a value-maximizing, holistic

restructuring transaction with the Debtors’ key lender constituents.

        9.       Specifically, in the months leading up to the Petition Date, the Restructuring

Advisors conducted a robust marketing process for a sale of substantially all of the assets of

American Freight. The Debtors’ initial market outreach formally began in September 2024. As

part of this process, the Debtors and Ducera reached out to over 80 potential bidders, of which 29

signed confidentiality agreements and received financial and operational diligence materials

through the Debtors’ virtual data room. While the Debtors’ market outreach yielded two initial

indications of interest, each as a joint proposal from two or more interested parties, they each

proved unactionable. In light of the results from the American Freight marketing process and the

liquidity issues associated with maintaining the business line as a going concern, the Debtors and

their advisors redirected their efforts to focusing on identifying third-party consultants to evaluate

and conduct the Store Closing Sales and to prepare each Store for turnover to the applicable

landlords—all on terms that would maximize recoveries for the Debtors’ stakeholders. 4

        10.      In addition to marketing American Freight, in the months prior to the Petition Date,

the Debtors attempted to reorganize around their other business lines outside of chapter 11.



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    Further details of the Debtors’ store closing sales are set forth in the Debtors’ Motion for Entry of Interim and
    Final Orders (I) Authorizing the Debtors to Assume the Consulting Agreement, (II) Approving Procedures for
    Store Closing Sales, and (III) Granting Related Relief, filed concurrently herewith.

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Despite extensive negotiations with the Ad Hoc Group of First Lien Secured Lenders, the Second

Lien Term Loan Lenders, and the HoldCo Lenders, it became clear that achieving a

comprehensive, consensual out-of-court transaction on the timeline required by the Debtors’

liquidity constraints was not feasible. Following this conclusion, the Debtors and the Ad Hoc

Group of First Lien Secured Lenders quickly pivoted to negotiating the terms of a restructuring

that could be implemented through a chapter 11 process with the support of the Consenting First

Lien Lenders. The culmination of the Debtors’ prepetition restructuring efforts was their entry

into that certain Restructuring Support Agreement, dated as of November 1, 2024 (the

“Restructuring Support Agreement”), with the Consenting First Lien Lenders. The goal of the

transactions set forth in the Restructuring Support Agreement is to reorganize around the Debtors’

strongest and most profitable business segments—namely, Buddy’s, PSP, and Vitamin Shoppe—

in a manner that maximizes value for all stakeholders.

       11.      The Debtors’ prepetition efforts have laid the foundation to efficiently consummate

a value-maximizing transaction for the benefit of their creditors and all other stakeholders. The

Restructuring Support Agreement memorializes the Consenting First Lien Lenders’ agreement to

support a sale process for the purpose of identifying one or a combination of Bidders who propose

a value-maximizing transaction that pays off the Debtors’ obligations under the DIP Facility, ABL

Facility, and First Lien Term Loan Facility in full in cash at the closing of such transaction. If a

bid for such a transaction does not materialize within forty-eight (48) hours prior to the date of the

Auction, the Debtors will reorganize pursuant to the Plan, under which, among other things,

holders of the First Lien Term Loan will receive 100% of the Debtors’ reorganized equity (the

“Plan Transaction”). This process is structured to efficiently maximize value for the benefit of all

stakeholders.



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III.   Need for an Expedited Process.

       12.     Time is of the essence for the Debtors, who simply cannot afford a longer process

than the one contemplated by the Bidding Procedures. Any delay in the consummation of a Sale

jeopardizes the Debtors’ ability to conduct these Chapter 11 Cases and operate their businesses in

an efficient manner for the benefit of all creditors, particularly because the Debtors have limited

access to postpetition financing under their DIP Facility, which requires the Debtors to

consummate a transaction on an agreed-upon timeline that tracks the Restructuring Support

Agreement milestones.       The Bidding Procedures balance the Debtors’ need to efficiently

consummate a Sale of their business with the need to provide adequate notice of the Debtors’

postpetition marketing process to parties in interest.

       13.     Subject to the proposed Bidding Procedures and the terms of the Restructuring

Support Agreement, the Debtors may evaluate any binding proposal or offer (each, a “Bid”)

received and may aggregate two or more Qualified Bids into a single consolidated Qualified Bid

for purposes of determining whether such Qualified Bids, when aggregated, constitute a Sufficient

Bid (as defined in the Bidding Procedures). If the Debtors receive more than one Sufficient Bid

at or prior to forty-eight (48) hours prior to the date of the Auction, they may conduct an Auction

to yield the most value-maximizing Sale of the Assets. Further, pursuant to the terms of the

Restructuring Support Agreement, if the Debtors receive only one Sufficient Bid, the Debtors may

exercise the “sale toggle” under the Restructuring Support Agreement, name the Sufficient Bid as

the Successful Bid, and, subject to Court approval, sell their Assets to the Successful Bidder

through a value-maximizing transaction that pays off the Debtors’ obligations under the DIP

Facility, ABL Facility, and First Lien Term Loan Facility in full in cash at the closing of such

transaction. If the Debtors do not receive a Sufficient Bid at or prior to forty-eight (48) hours prior

to the date of the Auction, the Debtors will pursue the Plan Transaction described in the

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Restructuring Support Agreement and pursuant to the Debtors’ Plan. A longer in-court process

than that set forth in the proposed Bidding Procedures is neither necessary nor the most effective

use of the Debtors’ limited resources.

                                       THE BIDDING PROCEDURES

I.        Overview.

          14.      To optimally and expeditiously solicit, receive, and evaluate bids in a fair and

accessible manner, the Debtors have developed and proposed the Bidding Procedures, which are

designed to permit a fair, efficient, competitive, and value-maximizing bidding process for the

Debtors’ Assets. The Bidding Procedures are designed to encourage all prospective bidders to put

their best Bid forward and bring finality to the Debtors’ restructuring process. Pursuant to Local

Rule 6004, certain of the key terms of the Bidding Procedures (which are attached to the Bidding

Procedures Order) are highlighted in the chart presented below: 5


                              MATERIAL TERMS OF THE BIDDING PROCEDURES
                                   AND BIDDING PROCEDURES ORDER
    Provisions          Qualified Bid and Qualified Bidder Requirements are set forth in Sections III.A and IV of the
    Governing           Bidding Procedures.
    Qualification of
    Bidders and         Requirements to Participate and Obtain Due Diligence
    Qualified Bids
    Local Rule 6004-    To participate in the bidding process, a Potential Bidder must deliver to each of the Debtors’
    1(c)(i)(A)-(B)      advisors the following documents and information:

                             1.       an executed confidentiality agreement on terms acceptable to the Debtors and
                                      substantially in the form approved by the Consultation Parties (a “Confidentiality
                                      Agreement”); and

                             2.       written proof by the Potential Bidder of its (a) financial capacity to close the Sale
                                      that will be proposed by the Potential Bidder and (b) ability to provide adequate
                                      assurance of future performance under any executory contracts and unexpired
                                      leases to be assumed by the Debtors and assigned to such Potential Bidder in

5
      This summary is qualified in its entirety by the provisions of the Bidding Procedures. To the extent that there is
      any inconsistency between the terms of the Bidding Procedures and this summary, the terms of the Bidding
      Procedures shall control. Capitalized terms used but not defined prior to or in this summary shall have the
      respective meanings given to them later in this Motion or in the Bidding Procedures, as applicable.

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         MATERIAL TERMS OF THE BIDDING PROCEDURES
              AND BIDDING PROCEDURES ORDER
                  connection with such Sale, which may include audited financial statements of, or
                  verified financial commitments obtained by, the Potential Bidder that evidence
                  the Potential Bidder’s internal financial resources and ability to finance its Bid
                  with cash on hand, available lines of credit, uncalled capital commitments or
                  otherwise available funds (or, if the Potential Bidder is an entity formed for the
                  purpose of acquiring the desired Assets, the party(ies) that will provide the
                  Potential Bidder with the equity and/or debt financing to finance its Bid and bear
                  liability for a breach), the adequacy of which will be assessed by the Debtors and
                  their advisors, in consultation with the Consultation Parties.

    Subject to the proviso in the first paragraph of Article III.C. of the Bidding Procedures and
    subject to the second paragraph of Article III.C. of the Bidding Procedures, any Bid will be
    considered a qualified bid only if the Bid is submitted in writing by an Acceptable Bidder by
    the Bid Deadline and is determined to comply with all of the following in the Debtors’ business
    judgment (after consultation with the Consultation Parties) (such bid, a “Qualified Bid,” and,
    such Acceptable Bidder, a “Qualified Bidder”):

        1.   Identity. The Bid must fully disclose the identity of each person or entity that (a) is
             bidding for all or any portion of the Assets; (b) is sponsoring (including any equity
             sponsor) or financing the Bid (including through the issuance of debt, or extension of
             credit, in connection with such Bid); (c) is participating in (including through license
             or similar arrangement with respect to the Assets to be acquired in connection with
             such Bid) such Bid and the complete terms of any such participation; and/or (d) will
             directly or indirectly own and/or control any amount of capital stock, limited liability
             company interests, partnership interests or other equity, ownership, beneficial or profits
             interests of such Acceptable Bidder, or any options, warrants or other securities that
             are convertible into, or exchangeable or exercisable for, any of the foregoing; in each
             case, including its full legal name, jurisdiction of incorporation or formation, and its
             location in the Acceptable Bidder’s corporate structure. The Bid must also disclose
             any past or present affiliation, connection or agreement between the Acceptable Bidder
             or any person or entity described in the immediately preceding sentence, on the one
             hand, and any Debtor, any other prospective bidder for all or any portion of the Assets,
             or any officer, director, manager, shareholder, partner, investor or controlling person
             or entity of any Debtor or any such other prospective bidder, on the other hand.

        2.   Purpose; Assets and Liabilities. The Bid includes an irrevocable and binding offer by
             the Acceptable Bidder to either purchase some or all of the Assets (identified with
             specificity). A Bid involving the purchase of some or all of the Assets must clearly
             identify the following: (a) the Assets, or the portion thereof, to be purchased (including
             a preliminary list of executory contracts and unexpired leases that may be assumed by
             the Debtors and assigned to such Acceptable Bidder in connection with the Sale
             contemplated by such Bid, subject to revision prior to closing); and (b) the Liabilities
             and obligations to be assumed (including an estimate of indebtedness and applicable
             cure costs to be assumed or paid, if any).

        3.   Purchase Price. The Bid must clearly set forth the purchase price to be paid in
             connection with the Sale contemplated by such Bid (the “Purchase Price”), including
             all cash and non-cash components, if any. The Bid must confirm that all cash
             components of the Purchase Price are in U.S. Dollars. If the Purchase Price consists


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            of certain non-cash components, such as a Credit Bid, assumed Liabilities, or any other
            non-cash consideration, the Bid must specify the form of such non-cash consideration
            and shall include a detailed analysis of the value of each such non-cash component of
            such Purchase Price.

       4.   Deposit. The Bid must be accompanied by a good faith deposit in the form of cash in
            an amount equal to ten percent (10%) of the maximum cash component of the Purchase
            Price of such Bid (the “Deposit”) to be held in an escrow account to be established by
            the Debtors and applied or returned to the Acceptable Bidder, in each case as set forth
            in Article XVIII of the Bidding Procedures.

       5.   Marked Agreement. A Bid for the Assets must include (a) a duly executed,
            irrevocable, non-contingent asset purchase agreement (which must be based on the
            Form APA (as defined below)) with respect to the acquisition of the applicable Assets
            and the assumption of the applicable Liabilities necessary to effectuate the Sale
            contemplated in such Bid, (b) a schedule of Assigned Contracts, (c) a clearly marked-
            up version of (i) the form of Sale Order (as defined herein) provided by the Debtors to
            the Acceptable Bidder and (ii) the form of asset purchase agreement provided by the
            Debtors to the Acceptable Bidder (the “Form APA”), in each case, showing all changes
            requested by the Acceptable Bidder, and (d) all other material documents integral to
            such Bid (together with the asset purchase agreement and Sale Order, collectively,
            the “Asset Sale Bid Documents”).

       6.   Committed Financing. The Bid must include evidence of the Acceptable Bidder’s
            capacity to consummate the Sale contemplated by such Bid with (a) cash on hand or
            (b) committed financing documented to the satisfaction of the Debtors, in consultation
            with the Consultation Parties, that demonstrates that the Acceptable Bidder has
            received debt and/or equity funding commitments to timely provide the Acceptable
            Bidder with funds sufficient to pay the Purchase Price set forth in such Bid and all other
            obligations under such Bid, including providing adequate assurance of future
            performance under all contracts proposed to be Assigned Contracts by such Bid. Such
            funding commitments or other financing must not be subject to any internal approvals,
            syndication requirements, diligence, or credit committee approvals, and shall have
            covenants and conditions acceptable to the Debtors. Such funding commitments shall
            remain outstanding until at least ninety (90) days after entry of the Sale Order
            applicable to the Bid if such Bid is selected as the Successful Bid (as defined herein)
            or the Backup Bid (as defined below). The Bid must disclose the identity and contact
            information for each entity providing any such funding commitment. Any such
            funding commitments that are provided by equity holders or affiliated entities of the
            Acceptable Bidder must be accompanied by written evidence that such equity holders
            or other affiliated entities have the resources and ability to fund such commitments on
            a timely basis.

       7.   Certain Conditions and Contingencies Not Permitted. The Bid shall not be
            conditioned on, or have any contingencies with respect to, any (i) financing, including
            the obtaining or the sufficiency of financing; (ii) internal approvals; (iii) due diligence,
            including the outcome or review of due diligence; (iv) third party consents or approvals
            (other than governmental or regulatory approvals or consents that may be required to
            consummate the proposed Sale contemplated by such Bid, including any antitrust
            approval that may be required under the HSR Act (as defined below)); (v) the
            satisfaction or achievement of any financial targets, thresholds, or metrics; or (vi) the



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            absence of any material adverse effect since a date earlier than the date the Bid was
            submitted.

       8.   Governmental and Regulatory Approvals. The Bid must describe all governmental or
            regulatory approvals or consents that are required to consummate the proposed Sale
            contemplated by such Bid (including any antitrust approval related to the Hart-Scott-
            Rodino Antitrust Improvements Act of 1976, as amended (the “HSR Act”)), and the
            time period within which the Acceptable Bidder expects to receive such approvals or
            consents. The Bid must include evidence satisfactory to the Debtors of the ability of
            the Acceptable Bidder to obtain such approvals or consents as soon as reasonably
            practicable, as well as a description of any material contingencies or other conditions
            that will be imposed upon, or that will otherwise apply to, the obtainment or
            effectiveness of any such approvals or consents.

       9.   Irrevocable. The Bid must be irrevocable and binding; provided that such Bid may be
            revoked after the Auction if such Bid is not selected as the Successful Bid or Backup
            Bid.

       10. Backup Bidder. The Bid must contain an agreement for the Acceptable Bidder to be
           a Backup Bidder if such Acceptable Bidder’s Bid is selected as the next highest or next
           best Bid after the Successful Bid.

       11. As-Is, Where-Is. The Bid must include the following representations and warranties:
           (a) the Acceptable Bidder has had an opportunity to conduct any and all due diligence
           regarding the Debtors’ business and the Assets and Liabilities such Acceptable Bidder
           proposes to acquire and assume prior to submitting such Bid; and (b) the Acceptable
           Bidder (i) has relied solely upon its own independent review, investigation, and/or
           inspection of any relevant documents and the Assets and Liabilities such Acceptable
           Bidder proposes to acquire and assume in making such Bid and (ii) did not rely on any
           written or oral statements, representations, promises, warranties, or guaranties
           whatsoever, whether express or implied, by operation of law or otherwise, regarding
           the Debtors’ businesses or the Assets and Liabilities such Acceptable Bidder proposes
           to acquire and assume or the accuracy or completeness of any information provided in
           connection therewith, except as expressly stated in the representations and warranties
           contained in such Acceptable Bidder’s proposed purchase agreement ultimately
           accepted and executed by the Debtors.

       12. Authorization. The Bid must include evidence that the Acceptable Bidder has obtained
           authorization or approval from all persons, entities, bodies, and committees that are
           required to provide such authorization or approval under such Acceptable Bidder’s
           organizational documents (including, to the extent applicable, its board of directors or
           board of managers (or comparable governing body), its general partner, or its
           stockholders, members, partners, or other equity holders) acceptable to the Debtors
           with respect to (a) the submission, execution, and delivery of such Bid and the Asset
           Sale Bid Documents, (b) participation in the Auction, and (c) closing of the proposed
           Sale contemplated in such Bid (including any financing that is part of the Bid). The
           Bid shall further state that any necessary filings under applicable regulatory, antitrust,
           and other laws will be made in a timely manner and that payment of the fees associated
           therewith, whether the responsibility of the Acceptable Bidder or the Debtors, shall be
           made by the Acceptable Bidder.




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       13. Disclaimer of Fees. The Bid must not seek to entitle the Acceptable Bidder to any
           right to receive a break-up fee, topping fee, termination fee or similar type of payment,
           any compensation, or any expense reimbursement, and the Acceptable Bidder shall
           waive the right to pursue any administrative expense claim (including under a theory
           of substantial contribution) under 11 U.S.C. § 503 related in any way to the submission
           of such Bid or participation in any Auction. The Acceptable Bidder shall bear its own
           costs and expenses (including legal fees) in connection with the submission of such
           Bid, participation in any Auction, and the closing and consummation of any Sale.

       14. Time Frame for Closing. The Bid by an Acceptable Bidder must be reasonably likely
           (based on antitrust or other regulatory issues, conditions, experience, and other
           considerations in the Debtors’ business judgment) to be consummated, if selected as
           the Successful Bid, within a time frame acceptable to the Debtors, but in any event no
           later than March 4, 2025. The Acceptable Bidder must commit to closing the proposed
           Sale contemplated by such Bid as soon as practicable, and must expressly set forth any
           potential regulatory issues or approvals that might arise in connection with such
           Acceptable Bidder’s acquisition of the Assets, including such Acceptable Bidder’s
           anticipated timing and proposed approach for resolving any such regulatory issues and
           obtaining any potential regulatory approvals.

       15. Employees. The Bid must include a statement regarding whether the Acceptable
           Bidder intends to offer future employment to any of the Debtors’ employees (and, if
           so, specifically identify such employees); provided that such Bid shall not be
           conditioned on, or have any contingencies with respect to, any acceptance of any such
           offer of employment.

       16. Adherence to Bidding Procedures. The Bid must include a statement that (a) the
           Acceptable Bidder has acted in good faith consistent with section 363(m) of the
           Bankruptcy Code, (b) such Bid constitutes a bona fide offer to consummate the
           proposed Sale embodied therein, and (c) the Acceptable Bidder agrees to be bound by
           the Bidding Procedures.

       17. Cooperation. The Acceptable Bidder must covenant to cooperate with the Debtors to
           provide factual information regarding such Acceptable Bidder’s assets, liabilities,
           businesses, and operations upon the Debtors’ request.

       18. No Collusion. The Acceptable Bidder must acknowledge in writing that (a) in
           connection with submitting the Bid, it has not engaged in any collusion that would be
           subject to section 363(n) of the Bankruptcy Code with respect to any Bids or the Sale,
           specifying that it did not agree with any Potential Bidders, Acceptable Bidders, or
           Qualified Bidders to control price; and (b) it agrees not to engage in any collusion that
           would be subject to section 363(n) of the Bankruptcy Code with respect to any Bids,
           the Auction, or the Sale.

       19. Acknowledgement of Remedies. The Bid shall include a written acknowledgement
           from the Acceptable Bidder that, in the event of the Acceptable Bidder’s breach of, or
           failure to perform under, the Asset Sale Bid Documents, the Debtors and their estates
           shall be entitled to pursue all available legal and equitable remedies, including, without
           limitation, retention of the Deposit (including any Incremental Deposit Amount (as
           defined below)) as part of the damages resulting to the Debtors and their estates for
           such breach or failure to perform.



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                        MATERIAL TERMS OF THE BIDDING PROCEDURES
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                       20. Other Information. The Bid contains such other information as may be reasonably
                           requested by the Debtors.

                   Notwithstanding anything in the Bidding Procedures to the contrary, any Bid that would
                   otherwise constitute a Qualified Bid will cease to be a Qualified Bid if such Bid, taken together
                   with all other Bids that would otherwise constitute a Qualified Bid, does not constitute a
                   Sufficient Bid at least forty-eight (48) hours prior to the date of the Auction.

Modification of    Section VII.B.10 of the Bidding Procedures sets forth the Debtors’ rights, in consultation with
Bidding            the Consultation Parties, to (a) announce, at any Auction (if held), modified or additional
Procedures         procedures for conducting the Auction, and (b) otherwise make modifications to the Bidding
Local Rule 6004-   Procedures; provided, however, that, without the prior written consent of the Required
1(c)(i)(D)         Consenting First Lien Lenders, in no event shall the Debtors make any amendments or
                   modifications, directly or indirectly, to any of the following (including to any of the defined
                   terms used therein): (i) the second paragraph of Article III.C., (ii) Number 13 in Article IV, (iii)
                   the last paragraph of Article IV, (iv) the second sentence of Article V, (v) the second paragraph
                   of Article VII, (vi) the second paragraph of Section D of Article VII, (vii) the last paragraph of
                   Article VIII, (viii) Article XIII, (ix) Article XVII, (x) Article XIX, (xi) any term or provision of
                   the Bidding Procedures relating to (A) the Senior Secured Lenders’ right to submit a Bid
                   (including a Credit Bid) at or at any time prior to the time set forth in the proviso in the first
                   paragraph of Article III.C., and their right to exercise their Credit Bid Right and submit a Credit
                   Bid, (B) any person or entity submitting a Bid (including a Credit Bid) on behalf of the Senior
                   Secured Lenders (including any agent or other representative for the Senior Secured Lenders),
                   (C) the status of any Bid (including a Credit Bid) submitted by, or on behalf of, the Senior
                   Secured Lenders as a Qualified Bid, (D) the status of the Senior Secured Lenders and/or any
                   person or entity submitting a Bid (including a Credit Bid) on their behalf (including any agent
                   or other representative for the Senior Secured Lenders) as a Qualified Bidder, an Acceptable
                   Bidder or a Secured Party, or (E) the consultation rights of, or the rights to receive information
                   or documents by, the Consultation Parties, or (xii) this proviso. All such modifications and
                   additional rules will be communicated to each of the Acceptable Bidders and Qualified Bidders
                   in advance to the extent reasonably practicable; provided that, to the extent such modifications
                   occur at the Auction (if held), disclosure of such modifications shall be limited to those in
                   attendance at the Auction All such modifications and additional rules will be communicated to
                   each of the Acceptable Bidders and Qualified Bidders in advance to the extent reasonably
                   practicable; provided that, to the extent such modifications occur at the Auction (if held),
                   disclosure of such modifications shall be limited to those in attendance at the Auction.

Closing with       Section VIII of the Bidding Procedures sets forth certain requirements with respect to Backup
Alternative        Bids.
Back-up Bidders
Local Rule 6004-   Notwithstanding anything in the Bidding Procedures to the contrary, if an Auction is conducted,
1(c)(i)(E)         the Qualified Bidder with the next-highest or otherwise second-best Qualified Bid as compared
                   to the Successful Bid at the Auction, as determined by the Debtors in the exercise of their
                   reasonable business judgment, in consultation with the Consultation Parties (the “Backup Bid”),
                   shall be required to serve as a backup bidder (the “Backup Bidder”), and each Qualified Bidder
                   shall agree and be deemed to agree to be the Backup Bidder if so designated.




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                        MATERIAL TERMS OF THE BIDDING PROCEDURES
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                   As a condition to remaining the Backup Bidder, any Backup Bidder shall wire to the Debtors,
                   in immediately available funds, its Incremental Deposit Amount, if applicable, no later than
                   one (1) Business Day following the date on which the Notice of Winning Bidder is served.

                   The identity of the Backup Bidder and the amount and material terms of the Qualified Bid of
                   the Backup Bidder shall be announced by the Debtors at the conclusion of any Auction (if held)
                   at the same time the Debtors announce the identity of the Successful Bidder.

                   The Backup Bid(s) shall remain binding on the Backup Bidder until the earlier of (a) the closing
                   of the Sale contemplated by the Successful Bid with the Successful Bidder, and (b) ninety (90)
                   days after the date of the entry of the Sale Order applicable to such Backup Bid. If a Successful
                   Bidder fails to consummate the Sale contemplated by its Successful Bid, the Debtors may select
                   the Backup Bidder as the Successful Bidder, and such Backup Bidder shall be deemed a
                   Successful Bidder for all purposes.

                   The Debtors will be authorized, but not required, to consummate all transactions contemplated
                   by the Backup Bid of a Backup Bidder without further order of the Court or notice to any party.

                   Anything in the Bidding Procedures to the contrary notwithstanding, if the Bid (including a
                   Credit Bid) submitted by or on behalf of the Senior Secured Lenders (including any agent or
                   other representative for the Senior Secured Lenders) is (a) the Successful Bid or (b) the Backup
                   Bid (in the event the Successful Bidder fails to consummate the Sale contemplated by its
                   Successful Bid), in either such case the Senior Secured Lenders may elect to consummate the
                   Successful Bid or the Backup Bid, as applicable, through the Plan Transaction in accordance
                   with the terms of the Restructuring Support Agreement; provided that, to the extent any portion
                   of the Successful Bid or the Backup Bid submitted by or on behalf of the Senior Secured Lenders
                   (including any agent or other representative for the Senior Secured Lenders) consists of any
                   consideration in excess of the amount of the Senior Secured Lenders’ Credit Bid, then the Plan
                   Transaction shall be modified solely to the extent necessary to account for any such excess
                   consideration.

Provisions         Section VII of the Bidding Procedures sets forth the procedures governing the Auction.
Governing the
Auction            Subject to the proviso in the first paragraph of Article III.C. of the Bidding Procedures and
Local Rule 6004-   subject to the second paragraph of Article III.C. of the Bidding Procedures, only Qualified
1(c)(ii)           Bidders that have submitted Qualified Bids by the Bid Deadline shall be eligible to participate
                   in the Auction, if held. Qualified Bidders participating in any Auction held must appear in
                   person (or through a duly authorized representative), telephonically, or through a video
                   teleconference, as determined by the Debtors, in consultation with the Consultation Parties. If
                   held, any Auction will be conducted openly and all creditors may be permitted to attend;
                   provided that the Debtors may establish a reasonable limit on the number of representatives
                   and/or professional advisors that may appear on behalf of or accompany each Qualified Bidder
                   or creditor at the Auction. Any creditor and its advisors wishing to attend the Auction (if held)
                   must contact the Debtors’ advisors no later than one (1) Business Day prior to the start of any
                   Auction; provided that (i) the Committee, if any, and (ii) any Secured Party and, in each case,
                   their respective advisors (including the Consultation Parties), shall be permitted to attend the
                   Auction, if held, with prior notice to the Debtors’ advisors no later than the later of (x) twenty-
                   four (24) hours prior to the commencement of the Auction (if held) and (y) twenty-four (24)
                   hours after the Debtors designate Qualified Bidders.


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    If the Debtors do not receive a Sufficient Bid at least forty-eight (48) hours prior to the date of
    the Auction, then (i) the Debtors shall not hold the Auction, and (ii) the Debtors shall
    immediately terminate the process to consummate a Sale and shall exclusively pursue the Plan
    Transaction in accordance with the terms of the Restructuring Support Agreement.

    If the Debtors receive more than one Sufficient Bid at least forty-eight (48) hours prior to the
    date of the Auction and decide to hold an Auction, no later than forty-eight (48) hours prior to
    the commencement of the Auction, the Debtors will notify all Qualified Bidders and the
    Consultation Parties of the opening Qualified Bid at the Auction (the “Minimum Bid”), which
    Minimum Bid shall in no event be no less than a Sufficient Bid, and provide copies of the Asset
    Sale Bid Documents supporting the Minimum Bid to all Qualified Bidders.

    The Auction, if held, shall take place at 10:00 a.m. (prevailing Eastern Time) on January 28,
    2025, (i) via a virtual meeting, (ii) at the offices of Willkie Farr & Gallagher LLP, 787 Seventh
    Avenue, New York, NY 10019, or (iii) at such later date, time, and location as designated by
    the Debtors, after providing notice to the Notice Parties and the Consultation Parties.

    If held, the Auction shall be governed by the following procedures, subject to the Debtors’ right
    to modify such procedures in their reasonable business judgment:

         1.       Minimum Bid. Bidding shall commence at the amount of the Minimum Bid.

         2.       Minimum Overbid. Qualified Bidders may submit successive Bids with a
                  Purchase Price that is higher than the Purchase Price for the previous Bid, based
                  on and increased from the Minimum Bid (each such Bid, an “Overbid”). Any
                  Overbid shall be made in increments of at least $1,000,000.00 in cash, cash
                  equivalents, the Credit Bid, or such other consideration that the Debtors deem
                  equivalent. The Debtors may, in their reasonable business judgment, in
                  consultation with the Consultation Parties, announce increases or reductions to
                  initial or subsequent minimum incremental Overbids at any time during the
                  Auction (if held).

         3.       Highest or Best Offer. After the first round of bidding and between each
                  subsequent round of bidding, the Debtors shall announce the Bid that they believe
                  in their reasonable business judgment, in consultation with the Consultation
                  Parties, to be the highest or otherwise best offer for the Assets (the “Leading
                  Bid”), and describe the material terms thereof to each participating Qualified
                  Bidder. Each round of bidding will conclude after each participating Qualified
                  Bidder has had the opportunity to submit a subsequent Bid with full knowledge
                  of the Leading Bid. To the extent not previously provided (as determined by the
                  Debtors, in consultation with the Consultation Parties), a Qualified Bidder
                  submitting a subsequent Bid must submit, as part of its subsequent Bid, written
                  evidence (in the form of financial disclosure or credit quality support information
                  or enhancement reasonably acceptable to the Debtors, in consultation with the
                  Consultation Parties) demonstrating such Qualified Bidder’s ability to close the
                  Sale at the Purchase Price contemplated by such subsequent Bid.




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        MATERIAL TERMS OF THE BIDDING PROCEDURES
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       4.    Incremental Deposit. Upon the submission by a Qualified Bidder of its Bid at the
             Auction (if held), it must commit on the record to pay promptly following the
             Auction, if such Bid were to be the Successful Bid or the Backup Bid, the
             incremental amount of its Deposit calculated based on the increased Purchase
             Price of such Bid, if applicable (the “Incremental Deposit Amount”).

       5.    Rejection of Bids. The Debtors may, in their reasonable business judgment, in
             consultation with the Consultation Parties, at any time before entry of an order of
             the Court approving a Qualified Bid, reject any Bid (other than a Bid submitted
             by, or on behalf of, the Senior Secured Lenders) that the Debtors determine is (a)
             inadequate or insufficient, (b) not in conformity with the requirements of the
             Bankruptcy Code, the Bidding Procedures, or the terms and conditions of the Sale,
             or (c) contrary to the best interests of the Debtors, their estates, their creditors,
             and other stakeholders.

       6.    No Late Bids. The Debtors shall not consider any Bids submitted after the
             conclusion of any Auction (if held), and any and all such Bids shall be deemed
             untimely and shall under no circumstances constitute a Bid or an Overbid.

       7.    No Round-Skipping. Round-skipping, as described herein, is explicitly
             prohibited. To remain eligible to participate in the Auction (if held), in each round
             of bidding, (i) each Qualified Bidder must submit a Bid before the end of such
             round of bidding that is a higher or otherwise better offer than the immediately
             preceding Bid submitted by a Qualified Bidder in such round of bidding and (ii) to
             the extent a Qualified Bidder fails to Bid in such round of bidding or to submit a
             Bid in such round of bidding that is a higher or otherwise better offer than the
             immediately preceding Bid submitted by a Qualified Bidder in such round of
             bidding, as determined by the Debtors in their reasonable business judgment, in
             consultation with the Consultation Parties, such Qualified Bidder shall be
             disqualified from continuing to participate in any Auction (if held) without the
             consent of the Debtors; provided that, notwithstanding anything to the contrary
             herein, a Qualified Bidder that is bidding on all or substantially all of the Assets
             shall not be required to participate in any Auction or round thereof (if held) for
             less than all or substantially all of the Assets.

       8.    Auction Sequence. In the event the Debtors receive Qualified Bids for less than
             all or substantially all of the Assets (such Qualified Bids, “Partial Asset Bids”),
             the Debtors shall start the Auction with such Partial Asset Bids (and, for the
             avoidance of doubt, any Qualified Bidder for all or substantially all of the Assets
             shall not be required to participate in such Auction) to determine which Partial
             Asset Bid is the highest or otherwise best Bid for the Assets in question (such Bid,
             the “Prevailing Partial Asset Bid”). Upon determination of the Prevailing Partial
             Asset Bid for each of the Assets, the Debtors shall conduct an Auction with
             respect to Bids for all or substantially all of the Assets (such Bids, “All Asset
             Bids,” and, the highest or otherwise best such Bid, the “Prevailing All Asset
             Bid”). To the extent the Debtors determine that the Prevailing Partial Asset Bid(s)
             is/are not higher or otherwise better than the Prevailing All Asset Bid, then the
             Prevailing Partial Asset Bid bidders shall be required to submit Bids that are
             higher or otherwise better than the Prevailing All Asset Bid. To the extent the


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                              Debtors determine that the Prevailing Partial Asset Bid(s) is/are higher or
                              otherwise better than the Prevailing All Asset Bid, then the Prevailing All Asset
                              Bid bidder shall be required to submit a Bid that is higher or otherwise better than
                              the Prevailing Partial Asset Bid(s).

                       9.     Additional Information. The Debtors shall have the right to request any additional
                              financial information that will allow the Debtors to make a reasonable
                              determination as to a Qualified Bidder’s (other than any Secured Party that is a
                              Qualified Bidder) financial and other capabilities to consummate the Sale
                              contemplated by its Bid and any further information that the Debtors believe is
                              reasonably necessary to clarify and evaluate any Bid made by a Qualified Bidder
                              during the Auction (if held).

                       10.    Modification of Procedures. The Debtors may, in consultation with the
                              Consultation Parties, (a) announce, at any Auction (if held), modified or
                              additional procedures for conducting the Auction, and (b) otherwise make
                              modifications to the Bidding Procedures; provided, however, that, without the
                              prior written consent of the Required Consenting First Lien Lenders, in no event
                              shall the Debtors make any amendments or modifications, directly or indirectly,
                              to any of the following (including to any of the defined terms used therein): (i)
                              the second paragraph of Article III.C., (ii) Number 13 in Article IV, (iii) the last
                              paragraph of Article IV, (iv) the second sentence of Article V, (v) the second
                              paragraph of Article VII, (vi) the second paragraph of Section D of Article VII,
                              (vii) the last paragraph of Article VIII, (viii) Article XIII, (ix) Article XVII,
                              (x) Article XIX, (xi) any term or provision of the Bidding Procedures relating to
                              (A) the Senior Secured Lenders’ right to submit a Bid (including a Credit Bid) at
                              or at any time prior to the time set forth in the proviso in the first paragraph of
                              Article III.C., and their right to exercise their Credit Bid Right and submit a Credit
                              Bid, (B) any person or entity submitting a Bid (including a Credit Bid) on behalf
                              of the Senior Secured Lenders (including any agent or other representative for the
                              Senior Secured Lenders), (C) the status of any Bid (including a Credit Bid)
                              submitted by, or on behalf of, the Senior Secured Lenders as a Qualified Bid, (D)
                              the status of the Senior Secured Lenders and/or any person or entity submitting a
                              Bid (including a Credit Bid) on their behalf (including any agent or other
                              representative for the Senior Secured Lenders) as a Qualified Bidder, an
                              Acceptable Bidder or a Secured Party, or (E) the consultation rights of, or the
                              rights to receive information or documents by, the Consultation Parties, or (xii)
                              this proviso. All such modifications and additional rules will be communicated
                              to each of the Acceptable Bidders and Qualified Bidders in advance to the extent
                              reasonably practicable; provided that, to the extent such modifications occur at
                              the Auction (if held), disclosure of such modifications shall be limited to those in
                              attendance at the Auction.

       15.    Importantly, the Bidding Procedures recognize and comply with the Debtors’

fiduciary obligations to maximize sale value, and the Debtors have the ability to consider all

Qualified Bid proposals. Subject to the terms set forth therein, the Bidding Procedures preserve


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the Debtors’ right to modify the Bidding Procedures as necessary or appropriate to maximize value

for the Debtors’ estates.

II.    Key Dates and Deadlines.

       16.     Pursuant to the Bidding Procedures, the Debtors will solicit Bids according to the

following proposed schedule, subject to Court approval and availability, which the Debtors believe

is appropriate in light of the circumstances of these Chapter 11 Cases.

                    Deadline                                              Event
 December 11, 2024                                Entry of Bidding Procedures Order

 As soon as practicable after entry of the Deadline for Debtors to publish Sale Hearing
 Bidding Procedures Order                  Notice

 Two Business Days after the entry of the Deadline for Debtors to file and serve Sale
 Bidding Procedures Order, or as soon as Hearing Notice
 practicable thereafter

 4:00 p.m. (ET) on the date that is fourteen Sale Objection Deadline
 (14) days after service of the Sale Hearing
 Notice

 December 16, 2024 at 5:00 p.m. (ET)              Deadline for Acceptable Bidders to submit
                                                  non-binding Indications of Interest

 December 20, 2024                                Deadline to file and serve Assumption and
                                                  Assignment Notice

 4:00 p.m. (ET) on the date that is fourteen Deadline to object to the Assumption and
 (14) days after service of the Assumption Assignment Notice
 and Assignment Notice

 January 23, 2025 at 5:00 p.m. (ET)               Bid Deadline

 No later than 48 hours prior to Auction, if Deadline to Designate Qualified Bidders
 applicable

 Twenty-four     (24)     hours following Deadline to object to adequate assurance of
 publication of the Notice of Successful future performance under Assigned Contracts
 Bidder, if no Auction is held            (if any)



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                   Deadline                                                    Event
 January 28, 2025 at 10:00 a.m. (ET)                  Auction, solely in the event the Debtors
                                                      receive more than one Qualified Bid prior to or
                                                      at the Bid Deadline that constitutes a Sufficient
                                                      Bid

 As soon as practicable after the Auction, if Deadline for Debtors to file and serve Notice
 applicable                                   of Successful Bidder

 January 30, 2025 at 4:00 p.m. (ET), if an Deadline to object to (i) conduct at Auction (if
 Auction is held                           any) and (ii) adequate assurance of future
                                           performance under Assigned Contracts (if
                                           any)

 January 28, 2025, at 5:00 p.m. (ET), if no Deadline to Reply to Sale Objections
 Auction is held

 February 2, 2025, at 12:00 p.m. (ET), if an
 Auction is held

 January 30, 2025 at [●] a.m./p.m. (ET), Sale Hearing, if no Auction is held
 subject to the availability of the Court

 February 3, 2025 at [●] a.m./p.m. (ET), Sale Hearing, if an Auction is held
 subject to the availability of the Court


III.   Sale Noticing and Objection Procedures.

       17.     The Debtors seek approval of the following sale noticing and objection procedures,

which the Debtors respectfully submit are reasonably calculated to provide interested parties with

notice of the Sale and Sale Hearing and an opportunity to respond accordingly.

                              Within two (2) Business Days after entry of the Bidding Procedures Order, or
                              as soon as practicable thereafter, the Debtors shall serve the Sale Hearing Notice
                              on: (a) the Notice Parties; (b) all parties to executory contracts and unexpired
                              leases proposed to be assumed, assigned, or rejected as part of the proposed
                              Sale; (c) all parties who have expressed a written interest in some or all of the
                              Assets within six (6) months prior to entry of the Bidding Procedures Order; (d)
 Service of Sale Hearing
                              all known holders of liens, encumbrances, and other claims secured by the
 Notice                       Assets; (e) the Internal Revenue Service; (f) all applicable state and local taxing
                              authorities; (g) each governmental agency that is an interested party with respect
                              to the Sale and transactions proposed thereunder; and (h) all parties that have
                              requested or that are required to receive notice pursuant to Bankruptcy Rule
                              2002.



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                             As soon as reasonably practicable after entry of the Bidding Procedures Order,
 Publication of Sale         the Debtors shall publish the Sale Hearing Notice, with any modifications
 Hearing Notice              necessary for ease of publication, in The New York Times (national edition), or
                             similar nationally circulated publications, to provide notice to any other
                             potentially interested parties.


IV.    Assumption Procedures.

       18.     The Debtors seek approval of the Assumption Procedures to facilitate the fair and

orderly assumption and assignment of the Assigned Contracts in connection with the Sale.

                             By December 20, 2024 (the “Assumption and Assignment Service Deadline”),
                             the Debtors shall serve the Assumption and Assignment Notice by first class
                             mail or email on each non-debtor counterparty to the Contracts that may be
                             assumed and assigned as part of the proposed Sale (or their respective counsel,
                             if known) that may be assumed by the Debtors and assigned to a Successful
                             Bidder (if any) in connection with the Sale contemplated by such Successful
                             Bidder’s Successful Bid.

                             The Assumption and Assignment Notice shall inform each recipient of (i) the
                             timing and procedures relating to such assumption and assignment, (ii) the title
                             (or an appropriate description) and date of the Contract (if available), (iii) the
                             name of the non-Debtor counterparty to the Contract, (iv) the Debtors’ good
                             faith estimates of the Cure Costs (if any) required in connection with the
 Assumption and Assignment   Contract, and (v) the Cure Objection Deadline; provided, however, that service
 Notice                      of an Assumption and Assignment Notice does not constitute an admission that
                             such Contract is an executory contract and/or unexpired lease or that any stated
                             Cure Cost constitutes a claim against the Debtors or any Successful Bidder, and
                             all rights with respect thereto are expressly reserved.

                             Service of an Assumption and Assignment Notice does not constitute an
                             admission that such Contract is an executory contract or unexpired lease or that
                             any stated Cure Cost constitutes a claim against the Debtors, and all rights with
                             respect thereto are expressly reserved. Further, the inclusion of a Contract on
                             the Assumption and Assignment Notice is not a guarantee that such Contract
                             will ultimately be assumed and assigned. Any determination of whether such
                             Contract is an executory contract or an unexpired lease or can be rejected will
                             be made in accordance with the Bankruptcy Code, the Bankruptcy Rules, and
                             all applicable orders of the Court.

                             The payment of the applicable Cure Costs shall (i) effect a cure of all defaults
                             existing under the Applicable Assigned Contracts, (ii) compensate for any actual
                             pecuniary loss to such counterparty resulting from such default, and
                             (iii) together with the assumption to the Assigned Contracts by the Debtors and
 Cure Costs
                             the assignment of the Assigned Contracts to any Successful Bidder, constitute
                             adequate assurance of future performance thereof.

                             In the event that an auction is held, objections to adequate assurance of future
                             performance of the Assigned Contracts by any Successful Bidder must be filed



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                          with the Court and served on the Objection Notice Parties no later than January
                          30, 2025 at 4:00 p.m. (ET).

                          To the extent the Debtors, at any time after the Assumption and Assignment
                          Service Deadline (i) identify additional Contracts that may be assumed and
                          assigned to the Successful Bidder, if any (the “Additional Contracts”),
                          (ii) remove Contracts from the list of Contracts that may be assumed and
                          assigned in connection with a Sale, and/or (iii) modify the previously stated
                          Cure Cost associated with any Contract, the Debtors will promptly file with this
                          Court and serve by first-class mail or email a supplemental notice of contract
                          assumption (a “Supplemental Assumption Notice”) on each of the
                          counterparties to such Contracts and their counsel of record, if any.

                          Each Supplemental Assumption Notice will include the same information with
                          respect to the listed Contracts as was included in the Assumption and
                          Assignment Notice.
Supplemental Contract
Assumption Notice
                          The Successful Bidder (if any, and including any Backup Bidder ultimately
                          named a Successful Bidder) may, pursuant to the terms of the asset purchase
                          agreement executed with the Debtors, designate Additional Contracts as
                          Assigned Contracts to be assumed and assigned at any time until five (5)
                          Business Days prior to the Sale Closing, and may remove Assigned Contracts
                          from the list of Contracts at any time until five (5) Business Days prior to the
                          Sale Closing.

                          Counterparties to Additional Contracts or that otherwise receive a Supplemental
                          Assumption Notice shall have until 4:00 p.m. (prevailing Eastern Time) on the
                          date that is fourteen (14) days after the filing and service of the Supplemental
                          Assumption Notice by the Debtors on the counterparty to file a Cure Objection
                          (as defined below).

                          Objections, if any, to the proposed assumption and assignment or the Cure Cost
                          proposed with respect thereto (each, a “Cure Objection”), must (i) be in writing,
                          (ii) comply with the applicable provisions of the Bankruptcy Code, Bankruptcy
                          Rules, and the Local Rules, (iii) state with specificity the nature of the objection
                          and, if the objection pertains to the proposed Cure Cost, the correct cure amount
Objections                alleged by the objecting counterparty, together with any applicable and
                          appropriate documentation in support thereof, and (iv) be filed with the Court
                          and served upon the Objection Notice Parties, so as actually to be received on
                          or before the date that is fourteen (14) days after the filing and service of the
                          Assumption and Assignment Notice or Supplemental Assumption Notice by the
                          Debtors, as applicable (each, a “Cure Objection Deadline”).

                          In the event that a non-Debtor contract counterparty files a timely Cure
                          Objection and the Debtors and such counterparty cannot resolve such objection,
                          the objection shall be heard at the Sale Hearing or such later date that the
                          Debtors determine, subject to the Court’s calendar; provided, however, that
Dispute Resolution
                          (i) any Assigned Contract that is the subject of a Cure Objection with respect
                          solely to the amount of the Cure Cost may be assumed and assigned prior to
                          resolution of such objection, (ii) the Debtors, in consultation with the parties to
                          any Contract that is subject to a Cure Objection, may adjourn a Cure Objection,
                          and (iii) the Successful Bidder (if any) shall pay any undisputed Cure Cost in


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                                accordance with the terms of its asset purchase agreement with the Debtors on
                                or before the Sale Closing and shall appropriately reserve funding for the
                                disputed portion of the Cure Costs.

                                If such objection has not been resolved prior to the Sale Closing (whether by an
                                order of the Court or by agreement with the counterparty), the Successful Bidder
                                (if any) may elect, in its sole discretion, to: (x) treat such counterparty’s Contract
                                (the “Disputed Contract”) as an excluded Contract (pursuant to the terms of the
                                Successful Bidder’s asset purchase agreement with the Debtors) or
                                (y) temporarily treat such counterparty’s Contract as an excluded Contract,
                                proceed to the Sale Closing, and determine whether to treat the Disputed
                                Contract as an Assigned Contract or an excluded Contract within five (5)
                                business days after resolution of such objection (whether by order of the Court
                                or by agreement with the counterparty).

                                If a timely objection is not received as to the adequate assurance of future
                                performance with respect to a Contract, Additional Contract, or Assigned
                                Contract listed on the Assumption and Assignment Notice or any Supplemental
                                Assumption Notice or any Supplemental Assumption Notice, the non-Debtor
                                party to such Assigned Contract shall be deemed to have consented to have
                                consented to (a) such Cure Cost, (b) the assumption and assignment of such
                                Assigned Contract, (c) the related relief requested in the Motion, and (d) the
                                Sale, and shall be forever barred and estopped from asserting or claiming that
                                any conditions to such assumption, assignment, and/or transfer must be satisfied
                                under such applicable Assigned Contract or that any related right or benefit
                                under such applicable Assigned Contract cannot or will not be available to the
                                proposed assignee.

                                No Assigned Contract shall be deemed assumed and assigned pursuant to
                                section 365 of the Bankruptcy Code until the later of (i) the date the Court has
 Contract Assumption
                                entered an order assuming and assigning such Assigned Contracts or (ii) the
                                Sale Closing.


                                       RELIEF REQUESTED

       19.    The Debtors seek entry of the Bidding Procedures Order, substantially in the form

attached hereto as Exhibit A:

              (a)      authorizing and approving the Bidding Procedures;

              (b)      scheduling (i) an Auction (if necessary) and (ii) a Sale Hearing
                       (if necessary) to consider approval of the proposed Sale, and approving the
                       Sale Hearing Notice;

              (c)      approving the Assumption Procedures, and approving the Assumption and
                       Assignment Notice; and

              (d)      granting related relief.


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                              BASIS FOR RELIEF REQUESTED

I.     The Bidding Procedures Are in the Best Interests of the Debtors and Their
       Stakeholders.

       A.      The Bidding Procedures Are Reasonable, Appropriate, and Will Maximize
               Value.

       20.     The Bidding Procedures were formulated with the goal of maximizing the value of

the Debtors’ estates for the benefit of their creditors and other stakeholders. Courts have made

clear that a debtor has a fiduciary duty to maximize the value of the estate at hand. In re Food

Barn Stores, Inc., 107 F.3d 558, 564–65 (8th Cir. 1997) (citing In re Midway Airlines, Inc., 6 F.3d

492, 494 (7th Cir. 1993)); see In re Mushroom Transp. Co., 382 F.3d 325, 339 (3d Cir. 2004)

(debtor-in-possession “had a fiduciary duty to protect and maximize the estate’s assets”). To that

end, courts uniformly recognize that procedures intended to enhance competitive bidding are

consistent with the goal of maximizing the value received by a debtor’s estate. See, e.g., In re

Integrated Res., Inc., 147 B.R. 650, 659 (S.D.N.Y. 1990) (bidding procedures “are important tools

to encourage bidding and to maximize the value of the debtor’s assets”); In re Fin. News Network,

Inc., 126 B.R. 152, 156 (Bankr. S.D.N.Y. 1991) (“court-imposed rules for the disposition of assets

. . . [should] provide an adequate basis for comparison of offers, and [should] provide for a fair

and efficient resolution of bankrupt estates”); In re Dura Auto. Sys., No. 06-11202 (KJC), 2007

Bankr. LEXIS 2764, at *253 (Bankr. D. Del. Aug. 15, 2007) (“Bidding procedures should be

approved when they provide a benefit to the estate by maximizing the value of the assets.”).

       21.     The Bidding Procedures will promote active bidding, elicit the highest or otherwise

best offers available for the Debtors’ Assets, and establish a controlled, fair, and open sale process

that encourages consummation of a Sale in a timely manner. Specifically, the Bidding Procedures

contemplate an open bidding process with minimum barriers to entry and provide potential bidding

parties with sufficient time to perform due diligence and acquire the information necessary to

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submit a timely and well-informed Bid. They provide the Debtors with a robust opportunity to

consider competing Bids and select the highest or otherwise best offer for the completion of the

Sale.

        22.     Accordingly, the Bidding Procedures should be approved. Not only do they

appropriately encourage competitive bidding under the standards governing auction proceedings

and bidding incentives in bankruptcy cases, but they also are aligned with the circumstances of

these Chapter 11 Cases and, if at least one Sufficient Bid is identified, will result in a Sale on fair

and reasonable terms (or otherwise, a value-maximizing Plan Transaction).               The Bidding

Procedures are otherwise reasonable and in the best interests of the Debtors, their estates, and all

parties in interest.

        B.      The Form and Manner of the Sale Hearing Notice Should Be Approved.

        23.     Pursuant to Bankruptcy Rule 2002(a), the Debtors are required to provide creditors

with twenty-one (21) days’ notice of the Sale Hearing. Pursuant to Bankruptcy Rule 2002(c), such

notice must include the time and place of the Auction and the Sale Hearing and the deadline for

filing any objections to the relief requested herein.

        24.     As noted above, within two (2) business days of entry of the Bidding Procedures

Order, or as soon as reasonably practicable thereafter, the Debtors will serve the Sale Hearing

Notice upon the following parties or their respective counsel, if known: (a) the Notice Parties (as

defined in the Bidding Procedures); (b) all parties to executory contracts and unexpired leases to

be assumed, assigned, or rejected as part of the proposed Sale; (c) all parties who have expressed

a written interest in some or all of the Assets in six (6) months prior to entry of the Bidding

Procedures Order, which service may be sent by email, if a mailing address for any of such parties

is unknown; (d) all known holders of liens, encumbrances, and other claims secured by the

Debtors’ Assets; (e) the Internal Revenue Service; (f) all applicable state and local taxing

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authorities; (g) each governmental agency that is an interested party with respect to the Sale and

transactions proposed thereunder; and (h) all parties that have requested or that are required to

receive notice pursuant to Bankruptcy Rule 2002.

        25.     In addition, as soon as reasonably practicable thereafter, the Debtors will provide

notice of the Sale Hearing, with any modifications necessary for ease of publication, through the

publication of the Sale Hearing Notice in The New York Times (national edition), or similar

nationally    circulated    publications,     and    on    the    Debtors’     claims    agent    website,

https://cases.ra.kroll.com/FRG.

        26.     The Debtors submit that notice of this Motion and the related hearing to consider

entry of the Bidding Procedures Order, coupled with service of the Sale Hearing Notice and the

Assumption and Assignment Notice, as provided for herein, constitutes good and adequate notice

of the Sale and the proceedings with respect thereto in compliance with, and in satisfaction of, the

applicable requirements of Bankruptcy Rule 2002. Accordingly, the Debtors request that this

Court approve the form and manner of the Sale Hearing Notice.

II.     The Sale Should Be Approved as an Exercise of Sound Business Judgment.

        27.     Section 363(b)(1) of the Bankruptcy Code provides that a debtor, “after notice and

a hearing, may use, sell or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b)(1). A sale of a debtor’s assets should be authorized pursuant to section

363 of the Bankruptcy Code if a sound business purpose exists for the proposed transaction. See,

e.g., In re Martin, 91 F.3d 389, 395 (3d. Cir. 1996) (“Under Section 363, the debtor in possession

can sell property of the estate . . . if he has an ‘articulated business justification’ . . .”); see also In

re Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (same); Comm. Of Equity Sec. Holders v. Lionel

Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983); In re Telesphere Commc’s, Inc.,

179 B.R. 544, 552 (Bankr. N.D. Ill. 1999).

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       28.       Courts typically consider the following factors in determining whether a proposed

sale satisfies this standard: (a) whether a sound business justification exists for the sale;

(b) whether adequate and reasonable notice of the sale was given to interested parties; (c) whether

the sale will produce a fair and reasonable price for the property; and (d) whether the parties have

acted in good faith. See, e.g., In re Decora Indus., Inc., No. 00-4459 (JJF), 2002 WL 32332749, at

*2 (Bankr. D. Del. May 20, 2002) (citing In re Delaware & Hudson Ry. Co., 124 B.R. 169 (Bankr.

D. Del. 1991)).

       29.       Once a debtor articulates a valid business justification, “[t]he business judgment

rule is a presumption that in making the business decision the directors of a corporation acted on

an informed basis, in good faith, and in the honest belief that the action was in the best interests of

the company.” In re S.N.A. Nut Co., 186 B.R. 98, 102 (Bankr. N.D. Ill 1995) (citations omitted);

In re Filene’s Basement, LLC, 11-13511 (KJC), 2014 WL 1713416, at *12 (Bankr. D. Del. Apr.

29, 2014) (“If a valid business justification exists, then a strong presumption follows that the

agreement at issue was negotiated in good faith and is in the best interests of the estate”) (citations

omitted); Integrated Res., 147 B.R. at 656; In re Johns-Manville Corp., 60 B.R. 612, 615–16

(Bankr. S.D.N.Y. 1986) (“a presumption of reasonableness attaches to a Debtor’s management

decisions.”).

       A.        A Sound Business Purpose Exists for the Sale.

       30.       As set forth above and as will be set forth in the Declaration, the Debtors have a

sound business justification for selling the Assets to the Successful Bidder, if any. The sale of the

Assets subjects the proposed Plan Transaction with the Consenting First Lien Lenders to

competing Bids, enhancing the Debtors’ ability to receive the highest or otherwise best value for

the Assets. The Bidding Procedures were designed to facilitate a robust and competitive bidding

process and, in turn, provide an appropriate framework for the Debtors to review, analyze, and

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compare one or more Bids for the Assets and to engage with Bidders on an arm’s length basis to

work to improve the quality of their Bids for the benefit of all parties in interest. Under the

proposed Bidding Procedures, if the Debtors receive more than one Sufficient Bid at or prior forty-

eight (48) hours prior to the date of the Auction, in accordance with their business judgment, they

may conduct an Auction to yield the most value-maximizing sale of the Assets. Alternatively, if

the Debtors receive only one Sufficient Bid at or prior to forty-eight (48) hours prior to the date of

the Auction, the Debtors may exercise the “sale toggle” under the Restructuring Support

Agreement, constitute the Sufficient Bid as the Successful Bid, and, subject to Court approval, sell

their Assets to the Successful Bidder through a value-maximizing transaction that pays off the

Debtors’ obligations under the DIP Facility, ABL Facility, and First Lien Term Loan Facility in

full in cash at the closing of such transaction. If the Debtors do not receive a Sufficient Bid at or

prior forty-eight (48) hours prior to the date of the Auction, the Debtors will pursue the Plan

Transaction. Consequently, if the Debtors ultimately decide to pursue a Successful Bid instead of

the Plan Transaction, that Successful Bid will constitute, in the Debtors’ reasonable business

judgment, the highest or otherwise best offer for the Assets and will provide a greater recovery for

their estates than any known or practicably available alternative. See, e.g., In re Trans World

Airlines, Inc., No. 01-00056, 2001 WL 1820326, at *4 (Bankr. D. Del. Apr. 2, 2001) (while a

“section 363(b) sale transaction does not require an auction procedure,” “the auction procedure

has developed over the years as an effective means for producing an arm’s length fair value

transaction”).

       31.       If applicable, the Debtors will submit evidence at the Sale Hearing to support these

conclusions. Therefore, the Debtors request that the Court make a finding that the proposed sale

of the Assets is a proper exercise of the Debtors’ business judgment and is rightly authorized.



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        B.      Adequate and Reasonable Notice of the Sale Will Be Provided.

        32.     The Sale Hearing Notice: (a) will be served in a manner that provides parties in

interest notice of the date, time, and location of the Sale Hearing; (b) informs parties in interest of

the deadlines for objecting to the Sale; and (c) otherwise includes all information relevant to parties

interested in or affected by the Sale. Significantly, the form and manner of the Sale Hearing Notice

will have been approved by this Court pursuant to the Bidding Procedures Order, after notice and

a hearing, before it is served on parties in interest.

        C.      The Sale and Purchase Price Will Reflect a Fair Value Transaction.

        33.     It is well settled that where there is a court-approved auction process, a full and fair

price is presumed to have been obtained for the assets sold, as the best way to determine value is

exposure to the market. See Bank of Am. Nat’l Trust & Sav. Ass’n. v. 203 N. LaSalle St. P’ship,

526 U.S. 434, 457 (1999); see also In re Trans World Airlines, Inc., No. 01-00056, 2001 WL

1820326, at *4 (while a “section 363(b) sale transaction does not require an auction procedure,”

“the auction procedure has developed over the years as an effective means for producing an arm’s

length fair value transaction”).

        D.      The Sale Will Be Proposed in Good Faith and Without Collusion, and the
                Successful Bidder (if any) Will Constitute a “Good-Faith Purchaser.”

        34.     As described herein and as will be described in the Declaration, Ducera will market

the Debtors’ business and solicit other offers for the Assets on a postpetition basis, consistent with

the Bidding Procedures. The marketing process will include, for example, contacting previously

solicited parties, providing Acceptable Bidders with data room access and requested information,

considering a variety of alternative transaction structures, and otherwise assisting the Debtors with

all efforts to maximize transaction value. In this way, the number of bidders that are eligible to

participate in a competitive bidding process for the Debtors’ Assets (if held) will be maximized.


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Consequently, the fairness and reasonableness of the consideration for the Assets to be paid by

any Successful Bidder ultimately will be demonstrated by adequate “market exposure” and an

open and fair auction and sale process—the best means for establishing whether a fair and

reasonable price is being paid. Any Successful Bid, or, if no such Bid is identified, the Plan

Transaction, will constitute the highest or best offer for the Assets, and may provide a greater

recovery for the Debtors’ estates than is likely to be provided by any other available alternative.

As a result, the Debtors’ determination to sell the Assets through a bidding process, as provided

for in the Bidding Procedures, is a valid and sound exercise of the Debtors’ business judgment.

       35.     The Debtors request that the Court find that any Successful Bidder arising from the

Auction (if held) is entitled to the benefits and protections provided by section 363(m) of the

Bankruptcy Code in connection with the sale of the Assets.

       36.     Section 363(m) of the Bankruptcy Code provides in pertinent part:

               [t]he reversal or modification on appeal of an authorization under
               subsection (b) or (c) of this section of a sale or lease of property does
               not affect the validity of a sale or lease under such authorization to
               an entity that purchased or leased such property in good faith,
               whether or not such entity knew of the pendency of the appeal,
               unless such authorization and such sale or lease were stayed pending
               appeal. 11. U.S.C. § 363(m).

       37.     Section 363(m) of the Bankruptcy Code thus protects the purchaser of assets sold

pursuant to section 363 of the Bankruptcy Code from the risk that it will lose its interest in the

purchased assets if the order allowing the sale is reversed on appeal, as long as such purchaser

leased or purchased the assets in “good faith.” While the Bankruptcy Code does not define “good

faith,” courts have held that a purchaser shows its good faith through the integrity of its conduct

during the course of the sale proceedings, finding that where there is a lack of such integrity, a

good-faith finding may not be made. See, e.g., In re Abbotts Dairies of Pa., Inc., 788 F.2d 143,

148 (3rd Cir. 1986) (“Typically, the misconduct that would destroy a [buyer’s] good faith status

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at a judicial sale involves fraud, collusion between the [proposed buyer] and other bidders or the

trustee, or an attempt to take grossly unfair advantage of other bidders.”); In the Matter of Andy

Frain Servs., Inc., 798 F.2d 1113 (7th Cir. 1986) (same); In re Sasson Jeans, Inc., 90 B.R. 608, 610

(S.D.N.Y. 1988) (same).

        38.      The Debtors submit, and, if applicable, the testimony presented at the Sale Hearing

will demonstrate, that the terms and conditions of the Sale will have been negotiated by the Debtors

and any Successful Bidder at arm’s-length and in good faith, with the assistance of the Debtors’

advisors, and that the parties did not engage in any conduct that would cause or permit the Sale to

be avoided under section 363(n) or 363(m) 6 of the Bankruptcy Code. Any asset purchase

agreement with a Successful Bidder will be the culmination of a competitive bidding process in

which all parties will presumably be represented by counsel and all negotiations will be conducted

on an arm’s-length, good faith basis. The Bidding Procedures are designed to ensure that no party

is able to exert undue influence over the process. Furthermore, any Bid(s) that the Debtors

ultimately determine to be a Successful Bid will have been evaluated in consultation with their

advisors. Accordingly, the Debtors believe that the Successful Bidder, if any, arising from the

Auction (if held) should be entitled to the full protections of section 363(m) of the Bankruptcy

Code.




6
    The Debtors believe that a finding of good faith within the meaning of section 363(m) of the Bankruptcy Code
    will be appropriate for any Successful Bidder arising from the Auction. Pursuant to the Bidding Procedures, any
    Successful Bidder will have had to present a proposal in accordance with the Bidding Procedures. In addition,
    the Debtors will not choose as a Successful Bidder or Backup Bidder (as defined in the Bidding Procedures) any
    entity whose good faith under section 363(m) of the Bankruptcy Code can reasonably be doubted, and will be
    prepared to present the Court with sufficient evidence to allow the Court to find that the “good faith” standard of
    section 363(m) of the Bankruptcy Code has been satisfied.

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        E.      The Sale of the Assets Should be Approved “Free and Clear” Under Section
                363(f).

        39.     Section 363(f) of the Bankruptcy Code permits a debtor to sell property free and

clear of another party’s interest in the property if: (a) applicable nonbankruptcy law permits such

a free and clear sale; (b) the holder of the interest consents; (c) the interest is a lien and the sale

price of the property exceeds the value of all liens on the property; (d) the interest is the subject of

a bona fide dispute; or (e) the holder of the interest could be compelled in a legal or equitable

proceeding to accept a monetary satisfaction of its interest. See 11 U.S.C. § 363(f).

        40.     Section 363(f) of the Bankruptcy Code is drafted in the disjunctive.             Thus,

satisfaction of any of the requirements enumerated therein will suffice to warrant the Debtors’ sale

of the Assets free and clear of all interests (i.e., all liens, claims, rights, interests, charges, or

encumbrances), except with respect to any interests that may be assumed liabilities or permitted

liens under the applicable purchase agreement. See In re Kellstrom Indus., Inc., 282 B.R. 787, 793

(Bankr. D. Del. 2002) (“[I]f any of the five conditions are met, the debtor has the authority to

conduct the sale free and clear of all liens.”).

        41.     The Debtors submit that any interest that will not be an assumed liability or

permitted lien satisfies or will satisfy at least one of the five conditions of section 363(f) of the

Bankruptcy Code, and that any such interest will be adequately protected by either being paid in

full at the time of closing, or by having it attach to the net proceeds of the Sale, subject to any

claims and defenses the Debtors may possess with respect thereto. The Debtors accordingly

request authority to convey the Assets to the Successful Bidder, if any, free and clear of all liens,

claims, rights, interests, charges, and encumbrances, with any such liens, claims, rights, interests,

charges, and encumbrances to attach to the proceeds of the Sale.




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III.   The Assumption and Assignment of the Assigned Contracts Should Be Approved.

       A.      The Assumption and Assignment of the Assigned Contracts Reflects the
               Debtors’ Reasonable Business Judgment.

       42.     To facilitate and effectuate the sale of the Assets, the Debtors are seeking authority

to assume and assign or transfer executory contracts to any Successful Bidder arising from any

Auction (if held), to the extent required by such bidders. In connection with this process, the

Debtors believe it is necessary to establish the Assumption Procedures by which: (a) the Debtors

and contract counterparties can reconcile cure obligations, if any, in accordance with section 365

of the Bankruptcy Code; and (b) such counterparties can object to the assumption and assignment

of the Assigned Contracts and/or related cure amounts.

       43.     Section 365 of the Bankruptcy Code authorizes a debtor to assume and/or assign its

executory contracts and unexpired leases, subject to the approval of the court, provided that the

defaults under such contracts and leases are cured and adequate assurance of future performance

is provided. The Debtors’ decision to assume or reject an executory contract or unexpired lease

must only satisfy the “business judgment rule” and will not be subject to review unless such

decision is clearly an unreasonable exercise of such judgment. See, e.g., Grp. of Inst’l Invrs. v.

Chicago, Milwaukee, St. Paul & Pacific Ry. Co., 318 U.S. 523 (1943) (applying Bankr. Act section

77(b), predecessor to Bankruptcy Code section 365, and rejecting test of whether executory

contract was burdensome in favor of whether rejection is within debtor’s business judgment);

Sharon Steel Corp. v. Nat’l Fuel Gas Distrib. Corp., 872 F.2d 36, 40 (3d Cir. 1989) (describing

deference to a debtor’s business judgment as “breathing space afforded [to] the debtor to consider

whether to reject or assume executory contracts under the Code.”); In re Network Access Sols.,

Corp., 330 B.R. 67, 75 (Bankr. D. Del. 2005) (“The standard for approving the assumption of an

executory contract is the business judgment rule.”); In re Exide Techs., 340 B.R. 222, 239 (Bankr.


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D. Del. 2006) (“The propriety of a decision to reject an executory contract is governed by the

business judgment standard.”); In re Extraction Oil & Gas, 622 B.R. 608, 615 (Bankr. D. Del.

2020) (“Courts generally will not second-guess a debtor's business judgment concerning the

rejection of an executory contract or unexpired lease. The "business judgment" test merely requires

a showing that rejection will benefit the debtor's estate.”).

       44.     In the present case, the Court should approve the decision to assume and assign the

Assigned Contracts to the relevant Successful Bidder in connection with the Sale as a sound

exercise of the Debtors’ business judgment. First, the Assigned Contracts will likely be necessary

for any Successful Bidder to operate the Assets and, in turn, conduct business going forward. As

such, the Assigned Contracts are essential to inducing the highest or otherwise best offer for the

Assets. Second, it is unlikely that any purchaser would want to acquire the Assets, unless a

significant number of the contracts and leases needed to manage the day-to-day operations were

included in the transaction. Finally, the Assigned Contracts will be assumed and assigned through

the process approved by the Court pursuant to the Bidding Procedures Order and, thus, will be

reviewed by key constituents in these Chapter 11 Cases.

       45.     As set forth in the Bidding Procedures Order, the Debtors also request that any party

that fails to object to the proposed assumption and assignment of any Contract be deemed to

consent to the assumption and assignment of the applicable Contract pursuant to section 365 of

the Bankruptcy Code on the terms set forth in the Sale Order, along with the cure amounts

identified in the Assumption and Assignment Notice. See, e.g., In re Tabone, Inc., 175 B.R. 855,

858 (Bankr. D.N.J. 1994) (by not objecting to sale motion, creditor deemed to consent); In re

Gabel, 61 B.R. 661, 667 (Bankr. W.D. La. 1985) (same).




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       46.     The Debtors believe that the Assumption Procedures are fair and reasonable,

provide sufficient notice to parties to the Contracts, and provide certainty to all parties in interest

regarding their obligations and rights in respect thereof. Accordingly, the Debtors submit that the

assumption and assignment of the Assigned Contracts by way of the Assumption Procedures

should be approved as an exercise of their business judgment.

       B.      Defaults Under the Assigned Contracts Will Be Cured Through the Sale.

       47.     Upon finding that a debtor has exercised its business judgment in determining that

assuming an executory contract is in the best interest of its estate, courts must then evaluate

whether the assumption meets the requirements of section 365(b) of the Bankruptcy Code,

specifically that a debtor (a) cure, or provide adequate assurance of promptly curing, prepetition

defaults in the executory contract, (b) compensate parties for pecuniary losses arising therefrom,

and (c) provide adequate assurance of future performance thereunder. This section “attempts to

strike a balance between two sometimes competing interests, the right of the contracting non-

debtor to get the performance it bargained for and the right of the debtor’s creditors to get the

benefit of the debtor’s bargain.” In re Fleming Cos., 499 F.3d 300, 306 (3d Cir. 2007) (citation

omitted).

       48.     The Debtors’ assumption and assignment of any Assigned Contracts will be

contingent upon payment of Cure Costs and effective only upon the closing of the Sale. As set

forth above, subject to the Court’s approval, the Debtors will file with the Court and serve on each

counterparty an Assumption and Assignment Notice setting forth the Debtors’ good-faith

calculation of relevant Cure Costs for each Contract that may be assumed and assigned in

connection with the Sale. Counterparties will have an opportunity to raise any assignment and

cure objection in advance of the Sale Hearing. Because the Assumption Procedures (once

approved) provide a clear process by which to resolve disputes over cure amounts or other defaults,

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the Debtors are confident that, if defaults exist that must be cured, such cures will be achieved

fairly, efficiently, and properly, consistent with the Bankruptcy Code, the Bidding Procedures, and

with due respect to the rights of non-debtor parties.

       C.      Non-Debtor Parties Will Be Adequately Assured of Future Performance.

       49.     Similarly, the Debtors submit that the third requirement of section 365(b) of the

Bankruptcy Code—adequate assurance of future performance—is also satisfied given the facts

and circumstances present here. “The phrase ‘adequate assurance of future performance’ adopted

from section 2-609(1) of the Uniform Commercial Code, is to be given a practical, pragmatic

construction based upon the facts and circumstances of each case.” In re U.L. Radio Corp., 19

B.R. 537, 542 (Bankr. S.D.N.Y. 1982). Although no single solution will satisfy every case, “the

required assurance will fall considerably short of an absolute guarantee of performance.” In re

Prime Motor Inns, Inc., 166 B.R. 993, 997 (Bankr. S.D. Fla. 1994). Among other things, adequate

assurance may be given by demonstrating the assignee’s financial health and experience in

managing the type of enterprise or property assigned. See In re Bygaph, Inc., 56 B.R. 596, 605−06

(Bankr. S.D.N.Y. 1986) (adequate assurance of future performance present where a prospective

assignee has financial resources and has expressed a willingness to devote sufficient funding to a

business to give it a strong likelihood of succeeding).

       50.     The Debtors believe that they can and will demonstrate that the requirements for

assumption and assignment of the Assigned Contracts will be satisfied if their Assets are sold to a

Successful Bidder arising from the Auction (if held), as the Bidding Procedures require all bidders

to provide adequate assurance of their ability to perform under any Assigned Contract. As required

by the Bidding Procedures, the Debtors will evaluate the financial wherewithal of Potential

Bidders before designating such party a Qualified Bidder (e.g., financial credibility, willingness,

and ability of the interested party to perform under the Assigned Contracts) and will demonstrate

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such financial wherewithal, willingness, and ability to perform under the Assigned Contracts

assigned to the Successful Bidder, if any, arising from the Auction (if held). Further, the

Assumption Procedures provide the Court and other interested parties ample opportunity to

evaluate and, if necessary, challenge the ability of any Successful Bidder arising from the Auction

(if held) to provide adequate assurance of future performance and object to the assumption of the

Assigned Contracts or proposed Cure Costs. Accordingly, the Debtors submit that the assumption

and assignment of the Assigned Contracts as set forth herein should be approved pursuant to

section 365 of the Bankruptcy Code.

       D.      Relief Under Bankruptcy Rules 6004(h) and 6006(d) Is Appropriate.

       51.     Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease

of property . . . is stayed until the expiration of fourteen days after the entry of the order, unless

the court orders otherwise.” Additionally, Bankruptcy Rule 6006(d) provides that an “order

authorizing the trustee to assign an executory contract or unexpired lease . . . is stayed until the

expiration of fourteen days after the entry of the order, unless the court orders otherwise.” The

Debtors request that the Sale Order be effective immediately upon its entry by providing that the

fourteen-day stays under Bankruptcy Rules 6004(h) and 6006(d) are waived.

       52.     The purpose of Bankruptcy Rules 6004(h) and 6006(d) is to provide sufficient time

for an objecting party to appeal before an order can be implemented. See Advisory Committee

Notes to Fed. R. Bankr. P. 6004(h) and 6006(d). Although Bankruptcy Rules 6004(h) and 6006(d)

and the Advisory Committee Notes are silent as to when a court should “order otherwise” and

eliminate or reduce the fourteen-day stay period, the leading treatise on bankruptcy suggests that

the fourteen-day stay should be eliminated to allow a sale or other transaction to close immediately

“where there has been no objection to procedure.” 10 Collier on Bankruptcy ¶ 6004.10 (15th rev.

ed. 2006). Furthermore, if an objection is filed and overruled, and the objecting party informs the

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court of its intent to appeal, the stay may be reduced to the amount of time actually necessary to

file such appeal. Id.

       53.     To maximize the value received for the Assets, the Debtors seek to close the Sale

as soon as possible after the Sale Hearing. Accordingly, the Debtors hereby request that the Court

waive the fourteen-day stay period under Bankruptcy Rules 6004(h) and 6006(d).

                                             NOTICE

       54.     Notice of this Motion has been or will be provided to: (i) the Office of the United

States Trustee for the District of Delaware; (ii) the United States Attorney’s Office for the District

of Delaware; (iii) those creditors holding the fifty (50) largest unsecured claims against the

Debtors’ estates; (iv) counsel to the ABL Lenders; (v) counsel to the Ad Hoc Group of First Lien

Secured Lenders; (vi) counsel to the Second Lien Term Loan Lenders; (vii) counsel to the HoldCo

Lenders; and (viii) counsel to DIP Agent; and (ix) counsel to the DIP Lenders. The Debtors will

serve copies of this Motion and an order entered in respect of this Motion as required by Local

Rule 9013-1(m). In light of the nature of the relief requested herein, the Debtors submit that no

other or further notice is necessary.




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       WHEREFORE, the Debtors respectfully request that the Court enter the Bidding

Procedures Order, attached hereto as Exhibit A and such other and further relief as may be just

and proper.

Dated: November 11, 2024
       Wilmington, Delaware


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